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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

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In re                                         :
Inspection of                                 :
                                              :              NO. 22-mj-136
KVK Tech, Inc.                                :
located at 110 Terry Drive & 100 Campus Drive :
Newtown, PA 18940                             :
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                                             ORDER

          AND NOW, this 4th day of February, 2022, upon consent of the United States now that

the Occupational Safety and Health Administration (OSHA) has started execution of the

warrant for inspection, it is hereby ORDERED that this matter, the Application for Inspection

Warrant, and all other filings and orders in this matter shall be unsealed. The Clerk of Court is

directed to make the appropriate public docket entry and to make this matter and all filings

public.
                                              BY THE COURT:


                                              /s/ Marilyn Heffley
                                              MARILYN HEFFLEY
                                              UNITED STATES MAGISTRATE JUDGE
